Case 4:22-cv-00760-ALM Document 27 Filed 09/28/22 Page 1 of 16 PageID #: 419




               IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF TEXAS
                        SHERMAN DIVISION

AT&T MOBILITY LLC,
                                       Civil Action No. 4:22-CV-00760
           Plaintiff,

     v.

T-MOBILE USA, INC.,

           Defendants.




   DEFENDANT T-MOBILE USA, INC.’S REPLY IN FURTHER SUPPORT OF ITS
     MOTION TO DISMISS THE COMPLAINT PURSUANT TO RULE 12(b)(2)
Case 4:22-cv-00760-ALM Document 27 Filed 09/28/22 Page 2 of 16 PageID #: 420




                                               TABLE OF CONTENTS

                                                                                                                                      Page

I.     T-MOBILE IS NOT SUBJECT TO GENERAL PERSONAL
       JURISDICTION IN THIS DISTRICT ................................................................................1

       A.        AT&T Mobility Misapplies the Standard for General Personal
                 Jurisdiction ...............................................................................................................1

       B.        The Facts Show that T-Mobile Is Not “At Home” in Texas....................................2

II.    T-MOBILE IS NOT SUBJECT TO SPECIFIC JURISDICTION FOR
       THE CLAIMS ALLEGED IN THIS LAWSUIT ................................................................5

       A.        The Claims Arise Out of Only Passive Components of the Website ......................6

       B.        T-Mobile’s Advertising Campaign Does Not Target Texas ....................................7

       C.        AT&T Mobility’s Claims Do Not Arise From T-Mobile’s Forum
                 Contacts....................................................................................................................9

       D.        The Reasonableness Prong Also Favors T-Mobile................................................10

III.   CONCLUSION ..................................................................................................................10




                                                                   i
Case 4:22-cv-00760-ALM Document 27 Filed 09/28/22 Page 3 of 16 PageID #: 421




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Admar Int’l, Inc. v. Eastrock, L.L.C.,
   18 F.4th 783 (5th Cir. 2021) ..................................................................................................8, 9

Alpine View Co. v. Atlas Copco AB,
   205 F.3d 208 (5th Cir. 2000) ...............................................................................................8, 10

Andra Grp., LP v. BareWeb, Inc.,
   No. 4:17-CV-00815, 2018 WL 2848985 (E.D. Tex. June 11, 2018) ..................................9, 10

BNSF Railway Company v. Tyrrell,
  137 S. Ct. 1549 (2017) ...................................................................................................2, 3, 4, 5

Calder v. Jones,
   465 U.S. 783 (1984) ...................................................................................................................7

Daimler AG v. Bauman,
   571 U.S. 117 (2014) .....................................................................................................1, 2, 5, 10

Dymatize Enterprises, Inc. v. Maximum Hum. Performance, Inc.,
  No. 3:09-CV-1840-O, 2010 WL 972240 (N.D. Tex. Feb. 28, 2010) ........................................7

Frank v. PNK (Lake Charles) L.L.C.,
   947 F.3d 331 (5th Cir. 2020) .............................................................................................2, 3, 5

Franklin v. Apple Inc.,
   569 F. Supp. 3d 465 (E.D. Tex. 2021) .......................................................................................4

Ham v. La Cienega Music Co.,
  4 F.3d 413 (5th Cir. 1993) .......................................................................................................10

Intellect Design Arena, Inc. v. DataCubes Inc.,
    No. CV1912184ESSCM, 2020 WL 2832568 (D.N.J. June 1, 2020) ........................................7

U.S. ex rel. Lam v. Tenet Healthcare Corp.,
   481 F. Supp. 2d 673 (W.D. Tex. 2006)......................................................................................4

Lovelace v. Software Spectrum Inc.,
   78 F.3d 1015 (5th Cir. 1996) .....................................................................................................4

Monkton Ins. Servs., Ltd. v. Ritter,
  768 F.3d 429 (5th Cir. 2014) .....................................................................................................2




                                                                    ii
Case 4:22-cv-00760-ALM Document 27 Filed 09/28/22 Page 4 of 16 PageID #: 422




Nafta Traders, Inc. v. Hewy Wine Chillers, LLC,
   No. 3:18-CV-2773-L, 2019 WL 5184135 (N.D. Tex. July 23, 2019) .......................................3

Novak v. Overture Servs., Inc.,
   309 F. Supp. 2d 446 (E.D.N.Y. 2004) ...................................................................................6, 7

Nunes v. NBCUniversal Media, LLC,
   582 F. Supp. 3d. 387 (E.D. Tex. 2022) ........................................................................3, 5, 8, 10

Rawls v. Old Republic Gen. Ins. Grp., Inc.,
   489 F. Supp. 3d 646 (S.D. Tex. 2020) .......................................................................................3

Repairify, Inc. v. AirPro Diagnostics, LLC,
   No. CV H-19-1370, 2019 WL 7987116 (S.D. Tex. July 15, 2019)...........................................6

Revell v. Lidov,
   317 F.3d 467 (5th Cir 2002) ..................................................................................................7, 8

Torson v. Hyundai Oilbank Co.,
   No. 4:21-CV-00778, 2022 WL 79649 (S.D. Tex. Jan. 7, 2022), aff’d, No. 22-
   20065, 2022 WL 4103263 (5th Cir. Sept. 7, 2022) ...................................................................3

Walden v. Fiore,
   571 U.S. 277 (2014) .................................................................................................................10

World Triathlon Corp. v. Zefal, Inc.,
  No. 8:05CV659T24MAP, 2006 WL 4690989 (M.D. Fla. Apr. 18, 2006) ............................6, 7

Statutes

Lanham Act ..................................................................................................................................7, 9

Other Authorities

Fed. R. Civ. P. 12(b)(2)..................................................................................................................10




                                                                      iii
Case 4:22-cv-00760-ALM Document 27 Filed 09/28/22 Page 5 of 16 PageID #: 423




       T-Mobile is not subject to general jurisdiction here because it is not headquartered or

incorporated in Texas. The Supreme Court has made clear that due process does not establish

general jurisdiction over corporations other than in those two locales even with extensive forum

contacts in other states, except under extremely rare circumstances that the Court has not found to

exist in over 70 years. Nor does this Court have specific personal jurisdiction over T-Mobile for

these claims. AT&T Mobility again relies upon other websites and other Texas contacts not at

issue in this dispute to establish jurisdiction. But when the Court focuses on the suit-related

contacts—the only relevant contacts for specific jurisdiction purposes—they are not expressly

directed at Texas and are insufficient to establish specific personal jurisdiction as well. The Court

should, therefore, dismiss the complaint.

I.     T-MOBILE IS NOT SUBJECT TO GENERAL PERSONAL JURISDICTION IN
       THIS DISTRICT

       Under the standard articulated by the Supreme Court in Daimler AG v. Bauman, 571 U.S.

117 (2014), there is no general jurisdiction over T-Mobile in Texas. Even when considering the

documents cited by AT&T Mobility—over which it improperly requests the Court take judicial

notice as to the truth of their contents—AT&T Mobility fails to meet its burden of demonstrating

that T-Mobile is “at home” in this forum.

       A.      AT&T Mobility Misapplies the Standard for General Personal Jurisdiction

       Since the Daimler decision, courts have found a corporate defendant is subject to general

personal jurisdiction in only two places: (1) its state of incorporation; and (2) its principal place of

business. That is all. T-Mobile is unaware of a single case finding a corporation subject to general

jurisdiction anywhere else following Daimler. And AT&T Mobility cites none. All of the

authority AT&T Mobility cited in response either finds no general jurisdiction or applies the pre-

Daimler standard and is inapplicable.
Case 4:22-cv-00760-ALM Document 27 Filed 09/28/22 Page 6 of 16 PageID #: 424




       As articulated in Daimler, and further clarified in BNSF Railway Company v. Tyrrell, 137

S. Ct. 1549 (2017), a foreign defendant’s contacts with the forum must be “so ‘continuous and

systematic’ as to render [it] essentially at home in the forum State” (Daimler, 571 U.S. at 119),

and must be evaluated with a “corporation’s activities in their entirety.” BNSF, 137 S. Ct. at 1559

(“[a] corporation that operates in many places can scarcely be deemed at home in all of them”).

The Fifth Circuit has reaffirmed this standard repeatedly. See Frank v. PNK (Lake Charles) L.L.C.,

947 F.3d 331, 337-38 (5th Cir. 2020) (general jurisdiction outside of a company’s domicile “would

have to be the ‘exceptional case’ where [defendant’s] corporate operations are ‘so substantial and

of such a nature as to render the corporation at home’ in that forum”); Monkton Ins. Servs., Ltd. v.

Ritter, 768 F.3d 429, 432 (5th Cir. 2014) (“It is, therefore, incredibly difficult to establish general

jurisdiction in a forum other than the place of incorporation or principal place of business.”).

       As noted, AT&T Mobility cites no case since Daimler finding general jurisdiction over a

corporation where it was neither incorporated nor headquartered in Texas. The Fifth Circuit, in

fact, has observed that the Supreme Court has not upheld a single finding of general jurisdiction

over a corporate defendant outside of its place of incorporation or principal place of business since

1952. Frank, 947 F.3d at 336.

       Binding precedent governing the Court’s exercise of general jurisdiction therefore holds

that T-Mobile is not “at home” in Texas for the purposes of general personal jurisdiction.

       B.      The Facts Show that T-Mobile Is Not “At Home” in Texas

       Seeking to make this case the only exception since Daimler to find that Texas is a

corporation’s home despite being headquartered and incorporated elsewhere, AT&T Mobility

identifies (and, in some instances, misidentifies) several Texas contacts. That is not surprising:

T-Mobile is the second-largest wireless carrier in the United States, with offices and employees




                                                  2
Case 4:22-cv-00760-ALM Document 27 Filed 09/28/22 Page 7 of 16 PageID #: 425




throughout the country. Some of those offices and employees reside in Texas. That presence,

however, is insufficient under the law to convey general jurisdiction over T-Mobile in Texas.

       First, the fact that T-Mobile is registered to do business in Texas is insufficient to render

it “at home” in Texas. See Torson v. Hyundai Oilbank Co., No. 4:21-CV-00778, 2022 WL 79649,

at *3 (S.D. Tex. Jan. 7, 2022), aff’d, No. 22-20065, 2022 WL 4103263 (5th Cir. Sept. 7, 2022).

       Second, although AT&T Mobility alleges that T-Mobile has cell towers, retail stores, and

employees in Texas, AT&T Mobility does not argue that any of these contacts make T-Mobile’s

presence greater in Texas than anywhere else in the U.S. See Nunes v. NBCUniversal Media, LLC,

582 F. Supp. 3d. 387, 396-97 (E.D. Tex. 2022) (explaining that a court must consider contacts in

context of nationwide presence); Rawls v. Old Republic Gen. Ins. Grp., Inc., 489 F. Supp. 3d 646,

660 (S.D. Tex. 2020) (“Substantial sales of goods, advertisement, and business registration, even

with other contacts, have not been found to confer general jurisdiction.”) (collecting cases). Nor

do the allegations that T-Mobile’s trademark is “famous” in Texas or that T-Mobile pays Texas

franchise taxes render T-Mobile “at home” in Texas. See, e.g., Frank, 947 F.3d at 334, 339-41

(no general jurisdiction over a Louisiana casino that “has long been an attractive venue to Texans”

and targeted advertising to residents); Nafta Traders, Inc. v. Hewy Wine Chillers, LLC, No. 3:18-

CV-2773-L, 2019 WL 5184135, at *5-6 (N.D. Tex. July 23, 2019), report and recommendation

adopted, No. 3:18-CV-2773-L, 2019 WL 5186087 (N.D. Tex. Aug. 27, 2019) (no general

jurisdiction even though defendant pays taxes in Texas). If the result were otherwise, T-Mobile

(and other large corporations) would likely be “at home” everywhere—which is precisely what the

Supreme Court cautioned against. See BNSF, 137 S. Ct. at 1559.

       Third, AT&T Mobility argues incorrectly that T-Mobile’s office in Frisco, Texas is “one

of only three locations in the United States where it maintains corporate offices” and one of T-




                                                3
Case 4:22-cv-00760-ALM Document 27 Filed 09/28/22 Page 8 of 16 PageID #: 426




Mobile’s corporate “hubs.” (ECF 21 (“Response”) at 7-8.) In support, AT&T Mobility asks the

Court to take judicial notice of T-Mobile’s Form 10-K for the fiscal year ending on December 31,

2020. To begin with, the Court may take judicial notice of SEC filings only “for the purpose of

determining what statements the documents contain, not to prove the truth of the documents’

contents.” U.S. ex rel. Lam v. Tenet Healthcare Corp., 481 F. Supp. 2d 673, 680 (W.D. Tex. 2006)

(internal citation omitted) (emphasis added).1 Moreover, this document does not support that

conclusion in any event. Nowhere does the Form 10-K state that the Frisco corporate office is one

of only three T-Mobile corporate offices, or that it is a corporate “hub” or headquarters. In fact,

the filing identifies that, in addition to the office spaces in Bellevue, Overland Park, and Frisco,

T-Mobile maintains an additional three million square feet of office space “throughout the U.S. . . .

for use by our regional offices.” (T-Mobile, Form 10-K for the year ending Dec. 31, 2020,

available at https://sec.report/Document/0001283699-21-000039/ (last accessed Sept. 28, 2022).)

       In other words, T-Mobile has an office in Frisco, but it is not the company headquarters—

which the Complaint acknowledges is in Bellevue, Washington—or any sort of “hub.” As the

Supreme Court recognized, for a location to be the surrogate principal place of business, it needs

to effectively replace the actual principal place of business. BNSF, 137 S. Ct. at 1558 (citing

Perkins v. Benguet Consol. Mining Co., 342 U.S. 437 (1952)) (the exemplified surrogate principal

place of business was where a foreign corporation relocated to Ohio during wartime). Maintaining



1
 AT&T Mobility also asks this Court to take judicial notice and accept as true the contents of local
news articles about the Frisco office housing the “Metro by T-Mobile” brand, which is not the
subject of this dispute. Again, judicial notice allows the Court to consider such documents “only
for the purpose of determining what statements the documents contain, not to prove the truth of
the documents’ contents.” Lovelace v. Software Spectrum Inc., 78 F.3d 1015, 1018 (5th Cir.
1996); Franklin v. Apple Inc., 569 F. Supp. 3d 465, 477 (E.D. Tex. 2021) (Mazzant, J.) (“Just
because a document itself is susceptible to judicial notice does not mean that every assertion of
fact within that document is judicially noticeable for its truth.”).


                                                 4
Case 4:22-cv-00760-ALM Document 27 Filed 09/28/22 Page 9 of 16 PageID #: 427




a corporate office or “operations” alone in the state is insufficient to render a company “at home”

in that forum. Nunes, 582 F. Supp. 3d at 397; Frank, 947 F.3d at 336-37. As AT&T Mobility’s

own cited sources confirm, T-Mobile’s corporate operations continue to be concentrated at its

headquarters in Bellevue—where it is “at home.” See BNSF, 137 S. Ct. at 1558; Nunes, 582 F.

Supp. 3d at 397, 402.

       Even aggregated, these identified contacts are insufficient to confer general jurisdiction in

Texas. They are a consequence of doing business in Texas as a large, multistate corporation. The

Court recently reached a similar conclusion applying Daimler and BNSF to find no general

jurisdiction over NBC Universal, a large, multistate nonresident corporation with many corporate

offices and retail locations throughout the country (including Texas) and products and services

that indisputably reach Texas residents. See Nunes, 582 F. Supp. 3d at 387. As this Court found,

despite those numerous, widespread contacts, NBCU had not made Texas its “surrogate principal

place of business” such that it could be considered “at home” for the purpose of general

jurisdiction. See id. at 396. There is likewise no general jurisdiction over T-Mobile in this forum.

II.    T-MOBILE IS NOT SUBJECT TO SPECIFIC JURISDICTION FOR THE
       CLAIMS ALLEGED IN THIS LAWSUIT

       As the Supreme Court recounted in Daimler, courts have increasingly focused on specific

jurisdiction as the “centerpiece” of modern jurisdiction theory, that is, “the relationship among the

defendant, the forum, and the litigation.” 571 U.S. at 133 (emphasis added).

       AT&T Mobility’s argument for minimum contacts sufficient to establish specific

jurisdiction focuses on three arguments: (1) the Website is “highly interactive”; (2) the Website

“expressly” targets Texas; and (3) other, non-suit-related contacts with Texas are sufficient for

specific jurisdiction. Each of these arguments fails.




                                                 5
Case 4:22-cv-00760-ALM Document 27 Filed 09/28/22 Page 10 of 16 PageID #: 428




       A.      The Claims Arise Out of Only Passive Components of the Website

       AT&T Mobility has not established that the Website is sufficiently interactive to satisfy

minimum contacts for the purpose of the Court’s exercise of specific jurisdiction over T-Mobile.

       On its face, the Website passively informs consumers about AT&T Mobility’s decision to

prohibit non-Florida residents from receiving the senior discount offered to Floridians. The

Website’s statements that AT&T Mobility claims are literally false exist on static graphics or

banners on the Website. AT&T Mobility does not claim otherwise. The Website is thus passive

under the Zippo sliding-scale test. See Repairify, Inc. v. AirPro Diagnostics, LLC, No. CV H-19-

1370, 2019 WL 7987116, at *6 (S.D. Tex. July 15, 2019) (the only content on defendant’s website

at issue was passive “static information posted by Defendant comparing the parties’ products”).

       Nor does the Website itself allow consumers to buy products or services. Instead, to argue

the Website falls on the interactive end of the Zippo sliding scale, AT&T misapplies the Zippo test

and conflates the interactivity of other websites linked to the Senior Discount Website to claim

that the Website itself is interactive. Indeed, the large website graphic appearing on half of page

11 of AT&T Mobility’s Response is from a different website—T-Mobile’s retail website. But

AT&T Mobility does not claim that any statement on T-Mobile’s retail website is false. The only

statements at issue here are specific statements on the Senior Discount Website—which itself is

not interactive. Where a plaintiff asserts a claim regarding a specific website, a court will evaluate

the interactivity of that website to assess minimum contacts, not hyperlinked webpages that are

not the subject of the claims.         See, e.g., World Triathlon Corp. v. Zefal, Inc., No.

8:05CV659T24MAP, 2006 WL 4690989, at *7 (M.D. Fla. Apr. 18, 2006); Novak v. Overture

Servs., Inc., 309 F. Supp. 2d 446, 456 (E.D.N.Y. 2004) (finding linked retail websites do not render

the website at issue interactive).




                                                  6
Case 4:22-cv-00760-ALM Document 27 Filed 09/28/22 Page 11 of 16 PageID #: 429




       Even if the Court were to consider the linked website together with the Website for the

purposes of determining minimum contacts, it should only consider the case-relevant parts of the

Website to determine whether those parts are sufficiently interactive to establish purposeful

availment. See Revell v. Lidov, 317 F.3d 467, 472 (5th Cir 2002). Under that analysis, the relevant

parts of the Website remain passive and do not establish minimum contacts with Texas. See World

Triathlon Corp., 2006 WL 4690989, at *7; Novak, 309 F. Supp. 2d at 446.

       B.      T-Mobile’s Advertising Campaign Does Not Target Texas

       Contrary to AT&T Mobility’s assertions, another appropriate test for analyzing whether

the advertising statements at issue in this case are targeted at Texas sufficient to establish specific

jurisdiction is the effects test articulated under Calder v. Jones, 465 U.S. 783, 789 (1984). See

Revell, 317 F.3d at 471-72. In attempting to avoid this test, AT&T Mobility invents a legal theory

that the Calder test is only applicable to media libel claims and that media libel has a higher

constitutional bar for minimum contacts than other cases. (Response at 13.) There is, of course,

no legal authority for that position. AT&T Mobility does not cite a single case holding the effects

test inapplicable to false advertising cases. To the contrary, several false advertising cases have

applied the effects test in their jurisdictional analysis. See, e.g., Intellect Design Arena, Inc. v.

DataCubes Inc., No. CV1912184ESSCM, 2020 WL 2832568, at *5 (D.N.J. June 1, 2020) (no

personal jurisdiction in false advertising action where no evidence that advertisement was

expressly aimed at forum); Dymatize Enterprises, Inc. v. Maximum Hum. Performance, Inc., No.

3:09-CV-1840-O, 2010 WL 972240, at *7 (N.D. Tex. Feb. 28, 2010), report and recommendation

adopted, No. 3:09-CV-1840-O-BH, 2010 WL 980996 (N.D. Tex. Mar. 16, 2010).

       The application of the effects test to false advertising makes logical sense. AT&T Mobility

bases its Lanham Act false advertising claim on a message that allegedly disparages AT&T

Mobility that T-Mobile distributed through mass communication—the Website. These facts align


                                                  7
Case 4:22-cv-00760-ALM Document 27 Filed 09/28/22 Page 12 of 16 PageID #: 430




more closely with business tort and defamation-type claims for the purpose of minimum contacts

than they do with products liability or trademark infringement claims. See Alpine View Co. v.

Atlas Copco AB, 205 F.3d 208, 216 (5th Cir. 2000) (questioning whether the stream-of-commerce

theory should apply outside of products liability cases).

       And while the effects test is “but one facet” of a minimum contacts analysis (Revell, 317

F.3d at 473), when considered in combination with the contacts analysis for the Website using the

Zippo scale, it provides a more complete picture of why the exercise of personal jurisdiction over

T-Mobile does not comport with due process—because the Website does not specifically target

Texas or interact with Texas consumers. Id. at 471-72. AT&T Mobility seeks to avoid this test

because it cannot overcome those facts.

       Instead, AT&T Mobility merely states that “T-Mobile published a map expressly targeting

Texas, as one of the states on the map ‘outside of Florida,’ . . .” (Response at 14 (emphasis added).)

In support, AT&T Mobility includes this map—which is of the entire continental United States.

(Id.) In other words, because the Website includes a U.S. map, and because Texas is one of the

states on that map, the Website is “expressly targeting Texas.” The flaw in that argument requires

little explanation. The Website does not target Texas any more than any other state. T-Mobile,

therefore, cannot have directed its activity at Texas specifically for the purpose of establishing

minimum contacts. See Admar Int’l, Inc. v. Eastrock, L.L.C., 18 F.4th 783, 785 (5th Cir. 2021).

       Moreover, AT&T Mobility makes no attempt to rebut T-Mobile’s demonstration under the

effects test that: (1) Texas is not mentioned, targeted, or in any way a focal point of the website

(Revell, 317 F.3d at 473-74; Nunes, 582 F. Supp. 3d at 399-400); and (2) the allegedly harmful

effects on AT&T Mobility would be felt in its principal place of business, which is Georgia, not




                                                  8
Case 4:22-cv-00760-ALM Document 27 Filed 09/28/22 Page 13 of 16 PageID #: 431




Texas. (Mot. at 11.) Accordingly, AT&T Mobility cannot establish that T-Mobile purposely

directed its Website at Texas.

       C.      AT&T Mobility’s Claims Do Not Arise From T-Mobile’s Forum Contacts

       Failing any other jurisdictional basis, AT&T Mobility misapplies other case law to seek to

include non-suit-related contacts in the analysis. It cites to Admar, 18 F.4th at 785 and Andra

Grp., LP v. BareWeb, Inc., No. 4:17-CV-00815, 2018 WL 2848985 (E.D. Tex. June 11, 2018) for

the assertion that “[w]hen claims are based on a defendant’s commercial website accessible in

Texas, and the defendant purposefully avails itself of the opportunity to do business in Texas, then

Texas courts have specific jurisdiction.” (Response at 13.) That is not what those cases hold.

       The Fifth Circuit in Admar held that, to establish purposeful availment, the subject website

itself must have targeted Texas. Id. at 787-88 (finding “a defendant does not have sufficient

minimum contacts with a forum state just because its website is accessible there” in response to

the plaintiffs’ contention that the defendant’s website “targets the entire United States, and so it

necessarily targets” the forum). Here, as in Admar, the Website targets the U.S. generally. AT&T

Mobility fails to demonstrate how the Website itself creates the necessary minimum contacts to

establish personal jurisdiction over it for the purpose of this claim.

       In Andra Group, this Court presided over a copyright infringement and Lanham Act trade

dress infringement claim—not a false advertising claim—where the alleged infringement

specifically involved the interactive customer service feature of the defendant’s website. The

Court’s finding of specific jurisdiction rested in part on the fact that forum residents interacted

with the allegedly infringing website and defendant purposefully transacted with residents through

those same infringing interactive features, as well as the fact that the defendant purposefully copied

and exchanged information with the plaintiff’s website’s servers in this district to create the




                                                  9
Case 4:22-cv-00760-ALM Document 27 Filed 09/28/22 Page 14 of 16 PageID #: 432




website in the first place. See 2018 WL 2848985, at *5-6. Thus, the defendant’s interactions with

the forum through the website constituted the purposeful availment. Id.

       Even under this analysis, AT&T Mobility cannot establish specific jurisdiction. See

Alpine, 205 F.3d at 215–17. None of T-Mobile’s contacts with Texas, which are purportedly the

products T-Mobile places in the stream of commerce or its interactive retail website at

www.tmobile.com, give rise to AT&T Mobility’s false advertising claim. Id.; Ham v. La Cienega

Music Co., 4 F.3d 413, 416 (5th Cir. 1993). Without that tie between the claim and the contacts,

AT&T Mobility cannot establish that this Court has specific jurisdiction over T-Mobile. See

Daimler, 571 U.S. at 133; Walden v. Fiore, 571 U.S. 277, 284 (2014) (the specific jurisdiction

analysis focuses on whether a “defendant’s suit-related conduct . . . create[s] a substantial

connection with the forum State”) (emphasis added).

       D.     The Reasonableness Prong Also Favors T-Mobile

       Because AT&T Mobility cannot establish T-Mobile’s requisite minimum contacts with the

forum, or that its false advertising claim arises therefrom, T-Mobile does not bear the burden of

demonstrating that exercise of personal jurisdiction over it would be unreasonable and unfair.

Nunes, 582 F. Supp. 3d at 401. Nevertheless, as stated in T-Mobile’s motion, the Court’s exercise

of personal jurisdiction over it would be neither reasonable nor fair because it would impose an

unjustified burden on T-Mobile, Texas does not have a particular interest in adjudicating a

commercial dispute between two nonresident corporations under federal law, and there are other

available and more appropriate forums for these claims. (Mot. at 13.)

III.   CONCLUSION

       For the foregoing reasons, T-Mobile respectfully requests that the Court grant T-Mobile’s

motion under Rule 12(b)(2) and dismiss the complaint for lack of personal jurisdiction.




                                               10
Case 4:22-cv-00760-ALM Document 27 Filed 09/28/22 Page 15 of 16 PageID #: 433




Dated: September 28, 2022
                                   FRANKFURT KURNIT KLEIN & SELZ, P.C.

                                   By:     /s/ Craig B. Whitney
                                   Craig B. Whitney*
                                   Molly G. Rothschild*
                                   Kristen G. Niven*
                                   28 Liberty Street 35th Fl.
                                   New York, NY 10005
                                   Tel: (212) 980-0120
                                   Fax: (212) 593-9175
                                   cwhitney@fkks.com
                                   mrothschild@fkks.com
                                   kniven@fkks.com
                                   *Admitted pro hac vice

                                   GILLAM & SMITH LLP
                                   Melissa R. Smith (Texas State Bar No. 24001351)
                                   melissa@gillsamsmithlaw.com
                                   J. Travis Underwood
                                   Texas Bar No. 24102587
                                   travis@gillamsmithlaw.com
                                   303 S. Washington Ave.
                                   Marshall, TX 75670
                                   Telephone: (903) 934-8450
                                   Facsimile: (903) 934-9257

                                   Attorneys for Defendant T-Mobile USA, Inc.




                                     11
Case 4:22-cv-00760-ALM Document 27 Filed 09/28/22 Page 16 of 16 PageID #: 434




                                 CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record who have consented to electronic service and are

being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-

5(a)(3) on September 28, 2022.

                                                            /s/ Melissa R. Smith
